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            EXHIBIT 187
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                                     American Academy of Pediatrics
                                     DEDICATED TO THE HEALTH OF ALL CHILDREN•




  345 Park Blvd                      September 8, zozz
  Itasca, IL 6c443
  Phone: 630/6z6-6000
  Fax: 847/434-8000                  Walter Pierre Bouman MD, MA, MSc, UKCPreg, PhD
  www.aap.org                        President, World Professional Association for Transgender Health (WPATH)



  Executive Committee

  President
  Moira A. Szilagyi, MD, FAAP

  President-Elect
  Sandy L Chung, MD, FAAP

  Immediate Past President
  Lee Savio Beers, MD, FAAP
                                     Dear Dr Bouman
  Secretary/Treasurer                                 and
  Dennis M. Cooky, MD, FAAP
                                     Thankyou for providing the American Academy of Pediatrics (AAP) with an opportunity to
  CEO/Executive Vice President       review Standards of Care forthe Health of Transgender and Gender Diverse People, Version 8
  Mark Del Monte, JD
                                     (SOC 8). We value the shared commitment to ensuring that transgender and gender diverse
                                     children and adolescents have access to evidence-based, medically necessary care in the
  Board of Directors                 United States and around the world.
  District I
  Wendy S. Davis, MD, FAAP           AAP experts from the Section on LGBT Health and Wellness and the Section on Endocrinology
  District II                        recently completed a review of SOC 8. AAP experts reviewed the following pediatric focused
  Warren M. Seigel, MD, FAAP         chapters: Chapter 6-Adolescents, Chapter 7-Children, and Chapter1z-Hormone Therapy.
  District III                       While many areas of SOC 8 align with AAP policy (Fnsuring Comprehposive Care ' Support
  Margaret C. Fisher, MD, FAAP       for Transgender and Gender-Diverse Children and Adolescents), there are some portions of
  District IV                        the final version that raise concerns for our clinical experts. While the attached PDF contains
  Michelle D. Fiscus, MD, FAAP       more detailed comments, we have highlighted a few specific issues foryour consideration:
  District V
  Jeannette 'Lie Caggino, MD, FAAP   Chapter 6 Adolescents
  District VI                           • SOC 8 recommendations for gender-affirming surgery do not align with AAP policy.
  Dennis M. Cooky, MD, FAAP                  The AAP does not recommend surgery for minors except on an individualized, case-
  District VII                               by-case basis with parental involvement and consent. Additionally, AAP experts agree
  Gary W. Floyd, MD, FAAP
                                             SOC 8 lacks the evidence to justify the recommended surgery ages.
  District Viii
  Martha C. Middlemist, MD, FAAP
                                         •   Chapter 6 includes several anti-transgender arguments, such as social contagion,
  District IX                                rapid onset gender dysphoria, desistence/persistence, and others, perhaps intended
  Yasuko Fukuda, MD, FAAP
                                             to demonstrate the lack of research and evidence behind these conclusions. However,
  District X                                 our experts believe including these discussions/arguments will achieve the opposite
  Madeline M. Joseph, MD, FAAP
                                             effect. The AAP reviewers believe that the current framing of this section implies that
  At Large                                   WPATH, while not endorsing these arguments, gives validity to them and does so
  Charles G. Macias, MD, FAAP
                                             without the necessary supporting evidence. As written, the discussions about
  At Large                                   persistence/desistence support a view for social contagion because gender
  Constance S. Houck, MD, FAAP
                                             development is discussed from a social cognitive lens rather than citing data and
  At Large                                   other scientific evidence needed to consider these conditions.
  Joseph L Wright, MD, FAAP




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                   As written, this section creates confusion and obscures the need to consider external factors that play a
                   role in each patient's care, and that gender dysphoria is different for every child/adolescent. The AAP
                   recommends the removal of theories or unsubstantiated claims that do not have sufficient evidence to
                   be conclusions.

              •    The discussions on family involvement and support in gender-affirming care in Chapter 6 are crucial
                   albeit not well-defined. Chapter 7 provides a framework for Chapter 6 to follow as it relates to family
                   involvement and support. Chapter 7 clearly discusses complex gender expression in young children
                   and consistent messaging about this care being developmentally mindful, family centered, and
                   individualized while also discussing developmental trauma, culture, and stigma that may affect
                   transgender and gender-diverse children. AAP recommends that Chapter 6 be reframed to better
                   align with Chapter 7.

          The AAP and WPATH share a common goal in ensuring that gender-affirming care is accessible and evidence-
          based, and that transgender and gender-diverse youth can lead healthy, fulfilling lives as their true selves. To
          that end, we are committed to working with WPATH and would request the opportunity for our subject-
          matter experts to meet with you to discuss these important matters upon receipt of this communication.

          Thank you for your consideration.


          Sincerely,

          -ken'rzt

          Moira A. Szilagyi, MD, PhD, FAAP
          President

          MAS/jh




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           Re: CONFIDENTIAL - FW: AAP Communication to WPATH
           Confidential)
           From:            Jon Arcelus
           To:
           Cc:              asa.radbilli            Eli Coleman                   , WPATH EC 2022
                            <wpathec2022©                           .•witz
                                                                       walterbouman

           Date:            Fri, 09 Sep 2022 04:50:13 -0400
           Attachments:     Letter to WPATH.pdf (106.7 kB); WIJT 23(S1) FINAL (AAP Comments).pdf (12.49
                            MB)

           Dear all
           You may have had some time to read and think about the comments from the AAP. I hope so.

           The letter asks for modifications in 3 sections, but when you look at the comments in pdf there are
           many changes that they are requested. As far as I can see they are asking for us to remove anything
           that it does not fit into their narrative, most of this is part of the introduction in the chapter.

           We need to focus as to what the SOC8 is about and the strong methodology we have. In the last few
           days I have heard from Marci that the ages don't have any scientific backup. Our guidelines are not
           only evidence based but they are primarily consensus based. There are many recommendations in
           the SOC that don't have direct evidence (most of the direct evidence is in the hormone chapter) but
           they have background evidence. This is why we have Delphi. Having evidence based and Delphi
           within our methodology makes our guidelines as strong as possible and unique. The AAP guidelines
           that they mentioned so many times have a very weak methodology, written by few friends who
           think the same.

           Regarding ages, in view of the weak evidence, they are not recommendations but suggestions, as it
           is agreed by the methodology and it was approved by more that 75% of the over 100 that voted via
           Delphi.

           I would like to ask people to think what will it really mean to remove ages. If we don't have any
           suggested ages, some clinicians will still use SOC7 (age of majority) and others will be able to refer
           people at any age (for genital at 15 or 16). That will make things very confusing and I have no doubt
           that if we remove age, we will have to write an amendment to the Soc8 to avoid this confusion very
           soon. That will look terrible for WPATH and the SOC.

           In addition, having the age of, chest for sample, as age of majority, is in my view unethical. This will
           mean to leave a young trans man on testosterone from 15 years but force to live with their chest
           (breast) maybe hairy for at least 3 more years. That will affect the mental health of the person
           terribly and I will not agree to that.

           The AAP comments asked us to remove age as it does not fit to their AAP, and they say that they
           want us to have "case by case" following a good MDT assessment, but we are asking for everyone to
           have a comprehensive MDT assessment, including with a mental health worker to reach a decision.
           That is the same thing.




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           My view is that we should not remove "ages" they are a suggestion, they have as much background
           evidence as many suggested statements, and they have been approved via Delphi and approved by
           the WPATH board.

           We can't not write a document that looks like theirs, as it has a one sided narrative, extremely
           biased. I will be surprised in their guidelines are used at all. Looking at the AAP people in Google they
           clearly see a group of trans people that I don't recognise, where gender identity appear always at
           childhood, that is not my experience.

           Personally, as an academic Trans specialist, who is a child and adolescent psychiatrist as well as a
           general practitioner and hormone prescriber, I think it will not be in the benefit of our community to
           remove ages as an suggestion and to make any of the changes that they are recommending. This will
           make a joke of our methodology and will see us as weak.

            I do really wonder whether a meeting is needed at all, as we are not going to reach any decision that
           will satisfy them. We may want to put an explanatory letter as they did to us, and explain our
           rational and thank them for the time they put on it, they may want to get involved in SCO9.

           But the most important thing, is that we all...everyone in the board and in SOC8, need to talk with
           one voice that ages are suggestions, consented via Delphi and back up by a limited background
           literature. They may become recommendations and not suggestion in the SOC9 if we have enough
           evidence. We need to believe that we are the experts and we know what we are saying and no being
           shaken by others.

           I am happy to have a meeting today to agree our next step. But I will oppose any other changes in
           the document.

           I still think the chapter that Scott and Annelou lead in writing is beautifully written and they provide
           a balance view which is exactly what guidelines should be about.

           Kind regards

           Jon

           Prof. Jon Arcelus Alonso, MD, PhD(Pronouns: He/Him)
           Professor Emeritus of Mental Health and Wellbeing
           Director of Research, Nottingham Centre for Transgender Health Network, UK

           School of Medicine, University of Nottingham, Nottingham, United Kingdom
           Bellvitge Biomedical Research Institute (IDIBELL), University of Barcelona, Spain


           Editor of the International Journal of Transgender Health (IF 5.33)
           Co-Chair of the Standards of Care 8th Edition (World Professional Association of Transgender Health-
           WPATH)
           https://www.nottingham.ac.uk/medicine/people/jon.arcelus


             On 8 Sep 2022, at 21:54,                                    > wrote:




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             Dear Asa, Eli, Jon

             Please see attached from the AAP, it looks to me like a call is in order, please advise best
             days/times over the next few days so we can schedule, if that's what you would like to do.




             Best Regards




             From: Hudson, Jeff <                 >
             Sent: Thursday, September 8, 2022 4:45 PM
             To: walterbouman
             Cc: Eli Cole                           asa.radix                  Jon Arcelus
             <Jon.Arcelu                    ; Del Monte, Mark <                          >
             Subject: AAP Communication to WPATH (Confidential)
             Importance: High

             Dr Bouman

             Please see the attached letter from the American Academy of Pediatrics. Additionally, please see
             the attached SOC 8 version with AAP expert comments.

             I look forward to continuing our dialogue and please let me know next steps.

             Best,
             Jeff

             From: Walter Bouman
             Sent: Monday, September 5, 2022 1:56 PM
             To: Hudson, Jeff <                                                >>
             Cc: Coleman Eli <                                                         Asa Radix
                                                                       Jon Arcelus


             Subject: Re: FINAL DRAFT SOC8
             Importance: High


             Dear Jeff,

             It was good to meet with you today and thank you for being available at such short notice (on a
             public holiday!).




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             I am very grateful that you want to help us with a short and efficient turnaround of whichever the
             issues your expert panel feel are the issues with the current version of the SOC8. As Eli
             Coleman, the SOC8 said: there may have to be compromises, but first and foremost, as
             clinicians who provide trans health care to adolescents, we must not fail our young people to
             receive the care they need; and, also, our guidelines serve tens of millions of TGD people
             globally, so there needs to be perspective and empathy towards other people who live outside
             the US too.

             Looking forward to working with you,

             Walter



             Dr Walter Pierre Bouman MD MA MSc UKCPreg PhD

             Consultant in Trans Health/Honorary Professor School of Medicine, University of Nottingham, UK

             President World Professional Association for Transgender Health (WPATH)

             Editor-in-Chief International Journal of Transgender Health (Impact Factor 2020 = 5.333)

             Nottingham National Centre for Transgender Health




             On 2022-09-05 17:13,
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             wvTT4%3D&reserved=0>

             Please see attached, looking forward to speaking with
             you. < https://nann12.safelinks.protection.outlook.com/?url= https%3A%2F%2Fepath.eu%2Fconfer
             ence-2019%2Fcall-for-
             abstracts%2F&data=05%7C01%7Cblaine%40wpath.org%7Cda2234a621d145d5be9c08da9ldb




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             known%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDAILCJQIjoiV2IuMzliLCJBTil6lkl haWwiLCJXV
             CI6Mn0%3D%7C3000%7C%7C%7C&sdata=ARhk1tIVyz7TtSisljI9AF%2BbCz%2ByXFCQcbja09
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             CI6Mn0%3D%7C3000%7C%7C%7C&sdata=ARhk1tIVyz7TtSisljI9AF%2BbCz%2ByXFCQcbja09
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             abstracts%2F&data=05%7C01%7                  40wpath.org%7Cda2234a621d145d5be9c08da9ldb
             0b92%7Ca4b64a6b52d34815aa06bf8de66ded88%7C1%7C0°/07C637982668339777381°/07CUn
             known%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDAILCJQIjoiV2IuMzliLCJBTil6lk1haVVwiLCJXV
             CI6Mn0%3D%7C3000%7C%7C%7C&sdata=eQ0xblyWmk2CS1°/02Ffb5GAIVkyH981gkuF8%2F
             b5lkl4Hog°/03D&reserved=0>

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             known%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDALCJQIjoiV2IuMzliLCJBTil6lk1haVVwiLCJXV
             CI6Mn0%3D%7C3000%7C%7C%7C&sdata=eQ0xblyWmk2CS1%2Ffb5GAIVkyH981gkuF8%2F
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             CI6Mn0°/03D%7C3000%7C%7C°/07C&sdata=eQ0xblyWnnk2CS1%2Ffb5GAIVkyH981gkuF8%2F
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            CI6Mn0%3D%7C3000%7C%7C%7C&sdata=eQ0xblyWmk2CS1%2Ffb5GAIVkyH981gkuF8%2F
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             conference-2019%2Fcall-for-
             abstracts%2F&data=05%7C01%                 0wpath.org%7Cda2234a621d145d5be9c08da9ldb
             0b92%7Ca4b64a6b52d34815aa0                ed88%7C1%7C0%7C637982668339777381%7CUn
             known%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDALCJQ IjoiV2luMzl iLCJBTiI6Ik1haVVwiLCJXV
             CI6Mn0ck3D%7C3000%7C%7C%7C&sdata=eQ0xblyWmk2CS1%2Ffb5GAIVkyH981gkuF8%2F
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             knowncY07CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDALCJQIjoiV2IuMzliLCJBTil6lk1haVVwiLCJXV
             CI6Mn0%3D%7C3000%7C%7C%7C&sdata=eQ0xblyWmk2CS1%2Ffb5GAIVkyH981gkuF8%2F
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             0b92%7Ca4b64a6b52d34815aa0          e    ed88%7C1%7C0°k7C637982668339777381°k7CUn
             knowncY07CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDALCJQIjoiV2IuMzliLCJBTil6lk1haVVwiLCJXV
             CI6Mn0°/03D%7C3000°/07C%7C°/07C&sdata=eQ0xblyWmk2CS1°/02Ffb5GAIVkyH981gkuF8%2F
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             Cl6Mn0%3D%7C3000%7C%7C%7C&sdata=eQ0xblyWmk2CS1%2Ffb5GAIVkyH981gkuF8%2F
             b5lkl4Hog%3D&reserved=0>

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             known%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDAiLCJQIjoiV2IuMzliLCJBTil6lk1haVVwiLCJXV
             CI6Mn0%3D%7C3000%7C%7C%7C&sdata=eQ0xblyWmk2CS1%2Ffb5GAIVkyH981gkuF8%2F
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             0b92%7Ca4b64a6b52d34815aa06bf8de66ded88°/07C1%7C0%7C637982668339777381%7CUn
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           Re: CONFIDENTIAL - FW: AAP Communication to WPATH
           Confidential)
           From:     Scott Leibowitz
           To:       Eli Coleman
           Cc:       walterbouman                                     , Jon Arcelus
                                                                                            asa.radi
                     WPATH EC 2022 <wpathec2022@wpath.org>, Annelou de Vries
           Date:     Fri, 09 Sep 2022 10:53:25 -0400

           I admittedly haven't had the time to read this chain in its entirety, nor the feedback from aap (I've been
           clinical all morning starting at 8am), and so I am simply responding to Eli's email, seeing a vote is
           being proposed.

           A missing step has been having a conversation with those of us in the pediatric realm, including two
           pediatricians on our chapter workgroup, with Rachel Levine and whoever in AAP is reviewing and
           making recommendations.

           Have they consulted their lgbt and adolescent health sections on this? Have we leveraged WPATH
           members who are involved in AAP activities (Aron Janssen sits as liaison from AACAP to aap) to be
           involved.

           The conversations need to happen at a level of pediatric provider to pediatric provider.

           Sent from my iPhone


             On Sep 9, 2022, at 9:37 AM, Eli Coleman                        wrote:




             Before you take this to a vote, I would like the chairs to consider this feedback and consider Scott
             and Annalou's input as well. We are suppose to have a meeting this morning to review the input
             from AAP - and the board might appreciate our recommendation. But of course the BOD is in
             charge.

             Best,

             Eli

             On Fri, Sep 9, 2022 at 5:24 AM Walter Bouman                                          wrote:

               Dear Jon,

               Thank you for this.

               I have also read all the comments from the AAP and struggle to find any sound evidence-
               based argument(s) underpinning these. I am seriously surprised that a "reputable"
               association as the AAP is so thin on scientific evidence.

               We certainly can not revert to age of majority for all surgeries as this would be grossly
               unethical for all the obvious reasons.




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              May I remind everyone that the entire BOD has signed the SOC8 off as it is, so what I would
              like the SOC8 leadership to do today is to make a decision as to whether:

              1. any changes are needed to be made to the SOC8: yes/no

              2. if yes, make those changes to the document (in collaboration with Scott and Annelou and
              their Working Group); and then

              3. ask the entire BOD whether they are still willing to support the SOC8 with those revisions
              with a yes/no voice

              The alternatives to the above are self explanatory.

              Warmest,

              Walter




              Dr Walter Pierre Bouman MD MA MSc UKCPreg PhD

              Consultant in Trans Health/Honorary Professor School of Medicine, University of Nottingham,
              UK

              President World Professional Association for Transgender Health (WPATH)

              Editor-in-Chief International Journal of Transgender Health (Impact Factor 2020 = 5.333)

              Nottingham National Centre for Transgender Health




              On 2022-09-09 09:50, Jon Arcelus wrote:

               Dear all
               You may have had some time to read and think about the comments from the AAP. I hope
               so.

               The letter asks for modifications in 3 sections, but when you look at the comments in pdf
               there are many changes that they are requested. As far as I can see they are asking for us




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               to remove anything that it does not fit into their narrative, most of this is part of the
               introduction in the chapter.

               We need to focus as to what the SOC8 is about and the strong methodology we have. In
               the last few days I have heard from Marci that the ages don't have any scientific backup.
               Our guidelines are not only evidence based but they are primarily consensus based. There
               are many recommendations in the SOC that don't have direct evidence (most of the direct
               evidence is in the hormone chapter) but they have background evidence. This is why we
               have Delphi. Having evidence based and Delphi within our methodology makes our
               guidelines as strong as possible and unique. The AAP guidelines that they mentioned so
               many times have a very weak methodology, written by few friends who think the same.

               Regarding ages, in view of the weak evidence, they are not recommendations but
               suggestions, as it is agreed by the methodology and it was approved by more that 75% of
               the over 100 that voted via Delphi.

               I would like to ask people to think what will it really mean to remove ages. If we don't have
               any suggested ages, some clinicians will still use SOC7 (age of majority) and others will be
               able to refer people at any age (for genital at 15 or 16). That will make things very
               confusing and I have no doubt that if we remove age, we will have to write an amendment
               to the Soc8 to avoid this confusion very soon. That will look terrible for WPATH and the
               SOC.

               In addition, having the age of, chest for sample, as age of majority, is in my view unethical.
               This will mean to leave a young trans man on testosterone from 15 years but force to live
               with their chest (breast) maybe hairy for at least 3 more years. That will affect the mental
               health of the person terribly and I will not agree to that.

               The AAP comments asked us to remove age as it does not fit to their AAP, and they say
               that they want us to have "case by case" following a good MDT assessment, but we are
               asking for everyone to have a comprehensive MDT assessment, including with a mental
               health worker to reach a decision. That is the same thing.

               My view is that we should not remove "ages" they are a suggestion, they have as much
               background evidence as many suggested statements, and they have been approved via
               Delphi and approved by the WPATH board.

               We can't not write a document that looks like theirs, as it has a one sided narrative,
               extremely biased. I will be surprised in their guidelines are used at all. Looking at the AAP
               people in Google they clearly see a group of trans people that I don't recognise, where
               gender identity appear always at childhood, that is not my experience.

               Personally, as an academic Trans specialist, who is a child and adolescent psychiatrist as
               well as a general practitioner and hormone prescriber, I think it will not be in the benefit of
               our community to remove ages as an suggestion and to make any of the changes that they
               are recommending. This will make a joke of our methodology and will see us as weak.




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                I do really wonder whether a meeting is needed at all, as we are not going to reach any
               decision that will satisfy them. We may want to put an explanatory letter as they did to us,
               and explain our rational and thank them for the time they put on it, they may want to get
               involved in SCO9.

               But the most important thing, is that we all...everyone in the board and in SOC8, need to
               talk with one voice that ages are suggestions, consented via Delphi and back up by a
               limited background literature. They may become recommendations and not suggestion in
               the SOC9 if we have enough evidence. We need to believe that we are the experts and we
               know what we are saying and no being shaken by others.

               I am happy to have a meeting today to agree our next step. But I will oppose any other
               changes in the document.

               I still think the chapter that Scott and Annelou lead in writing is beautifully written and
               they provide a balance view which is exactly what guidelines should be about.

               Kind regards

               Jon

               Prof. Jon Arcelus Alonso, MD, PhD(Pronouns: He/Him)
               Professor Emeritus of Mental Health and Wellbeing
               Director of Research, Nottingham Centre for Transgender Health Network, UK

               School of Medicine, University of Nottingham, Nottingham, United Kingdom
               Bellvitge Biomedical Research Institute (IDIBELL), University of Barcelona, Spain


               Editor of the International Journal of Transgender Health (IF 5.33)
               Co-Chair of the Standards of Care 8th Edition (World Professional Association of
               Transgender Health-WPATH)
               https://www.nottingham.ac.uk/medicine/peoplefjon.arcelus


                On 8 Sep 2022, at 21:54,                                      wrote:

                Dear Asa, Eli, Jon

                Please see attached from the AAP, it looks to me like a call is in order, please advise best
                days/times over the next few days so we can schedule, if that's what you would like to do.

                All best



                Best Regards




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                From: Hudson, Jeff <                    >
                Sent: Thursday, S-•
                To: walterboumaa
                Cc: Eli Coleman                     asa.radi                     Jon Arcelus
                                               Del Monte, Mark <                           >
                Subject: AAP Communication to WPATH (Confidential)
                Importance: High

                Dr Bouman and

                Please see the attached letter from the American Academy of Pediatrics. Additionally,
                please see the attached SOC 8 version with AAP expert comments.

                I look forward to continuing our dialogue and please let me know next steps.

                Best,
                Jeff



                Sent: Monday, September 5, 2022 1:56 PM
                To: Hudson, Jeff <                                               g»
                                                                                        ; Asa Radix
                                                                       >; Jon Arcelus


                Subject: Re: FINAL DRAFT SOC8
                Importance: High


                Dear Jeff,

                It was good to meet with you today and thank you for being available at such short notice
                (on a public holiday!).

                I am very grateful that you want to help us with a short and efficient turnaround of
                whichever the issues your expert panel feel are the issues with the current version of the
                SOC8. As Eli Coleman, the SOC8 said: there may have to be compromises, but first and
                foremost, as clinicians who provide trans health care to adolescents, we must not fail our
                young people to receive the care they need; and, also, our guidelines serve tens of
                millions of TGD people globally, so there needs to be perspective and empathy towards
                other people who live outside the US too.

                Looking forward to working with you,

                Walter




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                Dr Walter Pierre Bouman MD MA MSc UKCPreg PhD

                Consultant in Trans Health/Honorary Professor School of Medicine, University of
                Nottingham, UK

                President World Professional Association for Transgender Health (WPATH)

                Editor-in-Chief International Journal of Transgender Health (Impact Factor 2020 = 5.333)

                Nottingham National Centre for Transgender Health




                On 2022-09-05 17:13
                wrote: <https://nam12.safelinks.protection.outlook. com/?url=https%3A%2F%2Fepath.eu%
                2Fconference-2019%2Fcall-for-
                abstractscY02F&data=05%7C01%               /040wpath.orgTo7Cda2234a621d145d5be9c08
                da91db0b92°/07Ca4b64a6b52d34815aa06bf8de66ded88%7C1°/07C0%7C637982668339
                621145%7CUn known%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDAiLCJQIjoiV2IuMzliLC
                JBTi161k1haWwiLCJXVCI6Mn0%3D%7C3000%7C%7C%7C&sdata=ARhk1tIVyz7TtSislil
                9AF%2BbCz%2ByXFCQcbja09wvTT4%3D&reserved=0>

                Hi
                Jeff<https://nam12.safelin ks.protection .outlook.com/?url=https%3A%2F%2Fepath.eu%2F
                conference-2019%2Fcall-for-
                abstracts%2F&data=05%7C01%==040wpath.org%7Cda2234a621d145d5be9c08
                da91db0b92°/07Ca4b64a6b52d34815aa06bf8de66ded88%7C1%7C0%7C637982668339
                621145%7CUnknown%7CTWFpbGZsb3d8eyJWljoiMC4wLjAwMDAiLCJQ IjoiV2IuMzliLC
                JBTiI6Ik1haWwiLCJXVCI6Mn0%3Y/07C3000%7C%7C%7C&sdata=ARhkitIVyz7TtSislil
                9AF/02BbCz°/02ByXFCQcbja09wvTT4%3D&reserved=0>

                Please see attached, looking forward to speaking with
                you.<https://nam12.safelinks.protection.outlook.com/?url=https%3A%2F/02Fepath.eO/02
                Fconference-2019%2Fcall-for-
                abstracts%2F&data=05%7C01                  040wpath.org%7Cda2234a621d145d5be9c08
                da91db0b92%7Ca4b64a6b52d34815aa06bf8de66ded88%7C1%7C0%7C637982668339
                621145%7CUn known%7CTWFpbGZsb3d8eyJWI jaiMC4wLjAwMDAiLCJQ IjoiV2IuMzliLC
                JBTi161k1haWwiLCJXVCI6Mn0%3D%7C3000%7C%7C%7C&sdata=ARhk1tIVyz7TtSislil
                9AF%2BbCz%2ByXFCQcbja09wvTT4%3D&reserved=0>

                All
                best< https://nam12.safelinks.protection.outlook. com/?url=https%3A%2F%2Fepath.eu%2
                Fconference-2019%2Fcall-for-
                abstracts%2F&data=05%7C01%MM%40wpath.org%7Cda2234a621d145d5be9c08
                da91db0b92°/07Ca4b64a6b52d34815aa06bfacle66ded88%7C1°/07C0%7C637982668339
                621145%7CUnknown%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDAiLCJOIjoiV2IuMzliLC
                JBTi 16 I k1haWwiLCJXVCI6Mn0%3D%7C3000%7C%7C%7C&sdata=ARhk1tIVyz7TtSishl
                9AF/02BbCz°/02ByXFCQcbja09m/TT4%3D&reserved=0>




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                 abstracts%2F&data=05%7C01%                     l0wpath.org%7Cda2234a621dl45d5be9c08
                 da91db0b92%7Ca4b64a6b52d34815aa06bfacle66ded88%7C1%700%7C637982668339
                 621145%7CUnknown%7CTWFpbGZsb3d8eyJWIloiMC4wLjAwMDAILCJQIjoiV2IuMzliLC
                 JBTil6lk1haWwiLCJXVCI6Mn0%3D%7C3000%7C%7C%7C&sdata=ARhk1tIVyz7TtSislil
                 9AF%2BbCz%2ByXFCQcbja09wyTT4%3D&reserved=0>

                <https://nam12.safelinks.protection.outlook.com/?url=https°/03A%2F%2Fepath.eu%2Fcon
                ference-2019%2Fcall-for-
                abstracts%2F&data=05%7C01%                    0wpath.org%7Cda2234a621d145d5be9c08
                da9ldb0b92%7Ca4b64a6b52d34            as     8de66ded88%7C1%7C0%7C637982668339
                621145%7CUnknown%7CTWFpbGZsb3d8eyJWIloiMC4wLjAwMDAILCJQIjoiV2IuMzliLC
                JBTil6lk1haWwiLCJXVCI6Mn0%3D%7C3000%7C%7C%7C&sdata=ARhk1tIVyz7TtSisljl
                9AF%2BbCz%2ByXFCQcbja09wyTT4%3D&reserved=0>

                <https://nam12.safelinks.protection.outlook.com/?url=https%3A%2F%2Fepath.eu%2Fcon
                ference-2019%2Fcall-for-
                abstracts%2F&data=05%7C01%                /040wpath.org%7Cda2234a621d145d5be9c08
                da91db0b92%7Ca4b64a6b52d34815aa06bfacle66ded88%7C1%700%7C637982668339
                621145%7CUnknown%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDAILCJQIjoiV2IuMzliLC
                JBTil6lk1haWwiLCJXVCI6Mn0%3D%7C3000%7C%7C%7C&sdata=ARhk1tIVyz7TtSisljl
                9AF%2BbCz%2ByXFCQcbja09wyTT4%3D&reserved=0>

                Best
                Regards<https://nam12.safelinks.protection.outlook.com/?url=https%3A%2F%2Fepath.eu
                %2Fconference-2019%2Fcall-for-
                abstracts%2F&data=05%7C01%7M040wpath.org%7Cda2234a621d145d5be9c08
                da91db0b92%7Ca4b64a6b52d34815aa06bf8de66ded88%7C1%7C0%7C637982668339
                777381%7CUnknown%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDALCJOIjoiV2IuMzliLC
                JBTiI6Ikl haWwiLCJXVCI6Mn0%3D%7C3000%7C%7C%7C&sdata=eQOxblyWmk2CS1
                %2Ffb5GAIVkyH981gkuF8%2Fb5lkl4Hog%3D&reseryed=0>

                <https://nam12.safelinks.protection.outlook.com/?url=https%3A%2F%2Fepath.eu%2Fcon
                ference-2019%2Fcall-for-
                abstracts%2F&data=05%7C01%                  40wpath.org%7Cda2234a621d145d5be9c08
                da91db0b92%7Ca4b64a6b52d34815aa06bf8de66ded88%7C1%7C0%7C637982668339
                777381%7CUnknown%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDALCJOIjoiV2IuMzliLC
                JBTil6lk1haWwiLCJXVCI6Mn0%3D%7C3000%7C%7C%7C&sdata=eQ0xblyWmk2CS1
                %2Ffb5GAIVkyH981gkuF8%2Fb5lkl4Hoq%3D&reserved=0>

                        https://nam12.safelin ks. protection.outlook.com/?url=https%3A%2F%2Fepath.eu%
                  con erence-2019%2Fcall-for-
                abstracts%2F&data=05%7C01%                    040wpath.org%7Cda2234a621d145d5be9c08
                da91db0b92%7Ca4b64a6b52d34815aa06bf8de66ded88%7C1%7C0%7C637982668339
                777381%7CUnknown%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDAiLCJQIjoiV2IuMzliLC
                JBTil6lk1haWwiLCJXVCI6Mn0%3D%7C3000%7C%7C%7C&sdata=eQ0xblyWmk2CS1
                %2Ffb5GAIVkyH981gkuF8%2Fb5lkl4Hog%3D&reserved=0>


               1.1•PDs: nam12.safelinks.protection.outlook.com/?url=https%3A%2F%2Fepath.eu%2
                Fconference-2019%2Fcall-for-
                abstracts%2F&data=05%7C01%7Cblaine%40wpath.org%7Cda2234a621d145d5be9c08
                da91db0b92%7Ca4b64a6b52d34815a806bf8de66ded88%7C1%7C0%7C637982668339
                777381%7CUnknown%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDAILCJQIjoiV2IuMzliLC




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                JBTil6lk1haWwiLCJXVCI6Mn0To3D%7C3000%7C%7CT07C&sdata=eQ0xblyWmk2CS1
                cYo2Ffb5GAIVkyH981gkuF8%2Fb5lkl4HociTo3D&reserved=0>


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                 0 con erence-2019%2Fcall-for-
                abstractsTo2F&data=05%7C01%                 40wpath.orgTo7Cda22348621d145d5be9c08
                da9ldb0b92%7Ca4b64a6b52d34815aa06bfacle66ded88%7C1%7C0%7C637982668339
                777381%7CUnknownTo7CTWFOGZsb3d8eyJWIjoiMC4wLjAwMDAILCJOIjoiV2IuMzliLC
                JBTil6lk1haWwiLCJXVCI6Mn0To3DT07C3000%7C%7CT07C&sdata=eQ0xblyWmk2CS1
                °/02Ffb5GAIVkyH981gkuF8To2Fb5lkl4Hoc/o3D&reserved=0>


                                      2.safelinks.protection.outlook.conn/?url=httpsTo3AT02F/02Fepath
                  u                   To2Fcall-for-
                abstractsTo2F&data=05%7C01To                  vpath.orc/o7Cda2234a621d145d5be9c08
                da91db0b92%7Ca4b64a6b52d34815aa06bf8de66ded88%7C1T07C0%7C637982668339
                777381%7CUnknownTo7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDAILCJQIjoiV2IuMzliLC
                JBTil6lk1haWwiLCJXVCI6Mn0%3DT07C3000%7C%7CT07C&sdata=eQ0xblyWmk2CS1
                To2Ffb5GAIVkyH981cikuF8To2Fb5lkl4HogTo3D&reserved=0>



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                                    links.protection.outlook.com/?url=httpsTo3A%2F/02Fepath.eu%2F
                                     ll-for-
                abstracts%2F&data=05%7C01To
                da91db0b92%7Ca4b64a6b52d34
                                                           0wpath.orc/o7Cda2234a621d145d5be9c08
                                                           de66ded88%7C1%7O0%7C637982668339
                777381%7CUnknowncY07CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDAILCJQIjoiV2IuMzliLC
                JBTil6lk1haWwiLCJXVCI6Mn0cY03DT07C3000%7C%7CT07C&sdata=eQ0xblyWmk2CS1
                %2Ffb5GAIVkyH981gkuF8To2Fb5lkl4Horo3D&reserved=0>


                             inam12.safelin ks. orotection.outlook.com/?url=httpsTo3A%2F%2Fepath.euTo
                2Fconference-2019%2Fcall-for-
                abstracts%2F&data=05%7C01%7                   0wpath.org%7Cda2234a621d145d5be9c08
                da91db0b92°/07Ca4b64a6b52d34                 8de66ded88%7C1°/07C0%7C637982668339
                777381%7CUnknowncYo7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDAILCJOIjoiV2IuMzliLC
                JBTiI6Ikl haWwiLCJXVCI6Mn0%3D%7C3000%7C%7C%7C&sdata=eQOxblyWmk2CS1
                °/02Ffb5GAIVkyH981gkuF8T02Fb5lkl4HocY03D&reserved=0>


                              m12.safelinks.protection.outlook.com/?url=https%3AT02F/o2Fepath.euT02
                 con erence- •19%2Fcall-for-
                abstracts%2F&data=05%7C01%11.140wpath.oreo7Cda2234a621d145d5be9c08
                da91db0b92%7Ca4b64a6b52d34          as    f8de66ded88%7C1%7C0%7C637982668339
                777381%7CUnknown%7CTWFIDIDGZsb3d8eyJWIjoiMC4wLjAwMDAILCJQIjoiV2IuMzliLC
                JBTil6lk1haWwiLCJXVCI6Mn0To3DT07C3000°/07C%7CT07C&sdata=eCI0xblyWmk2CS1
                To2Ffb5GAIVkyH981gkuF8°/02Fb5lkl4Hoc/o3D&reserved=0>

                                  https://nam12.safelinks.protection.outlook.comOurl=httpsTo3ATo2P/02
                inFIRA
                  el        0 con erence-2019%2Fcall-for-
                 abstracts%2F&data=05%7C01%                40wpath.org%7Cda2234a621d145d5be9c08
                 da91db0b92%7Ca4b64a6b52d34815aa06bf8de66ded88%7C1T07C0%7C637982668339
                 777381%7CUnknown%7CTWFIDIDGZsb3d8eyJWIjoiMC4wLjAwMDAILCJQIjoiV2IuMzliLC
                 JBTil6lk1haWwiLCJXVCI6Mn0cY03DT07C3000%7C%7C%7C&sdata=eO0xblyWmk2CS1
                 To2Ffb5GAIVkyH981gkuF8°/02Fb5lkl4HocY03D&reserved=0>




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                ference-2019%2Fcall-for-
                abstracts%2F&data=05%7C01%                       ath.or °/07Cda2234a621d 145d5be9c08
                da91db0b92%7Ca4b64a6b52d34815aa06bf8de66ded88%7C1%7C0%7C637982668339
                777381%7CUnknown%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDAiLCJQIjoiV2IuMzliLC
                JBTi 16 I k1haWwiLCJXVCI6Mn0°/03D%7C3000%7C%7C%7C&sdata=eO0xblyWmk2CS1
                %2Ffb5GAIVkyH981gkuF8°/02Fb5lkl4Hog%3D&reserved=0>

                <https://nann12.safelinks.protection.outlook.com/?url=https%3A°/02F/02Fepath .eu%2Fcon
                ference-2019%2Fcall-for-
                abstracts°/02F&data=05%7C01%7C                 wpath.org%7Cda2234a621d145d5be9c08
                da91db0b92%7Ca4b64a6b52d34815aa06bf8de66ded88°/07C1%7C0%7C637982668339
                777381%7CUnknown%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDAiLCJQIjoiV2IuMzliLC
                JBTi 16 I k1haWwiLCJXVCI6Mn0°/03D%7C3000%7C%7C%7C&sdata=eO0xblyWmk2CS1
                %2Ffb5GAIVkyH981gkuF8°/02Fb5lkl4Hocio3D&reserved=0>



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                     University of Minnesota Medical School
                     Family Medicine and Community Health
                     sexualhealth.umn.edu




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           Fwd: ages and treatment
           From:
           To:

           Date:            Fri, 09 Sep 2022 14:21:37 -0400
           Attachments:     Ages for gender affirming medical and surgical treatment for adolescents.docx (18.61
                            kB)

           Here are       edits removing ages. This looks terrific, in my opinion. Having a later insurance
           supplement is a good idea, thanks=

                   Forwarded messa e
           From:
           Date: Tue, Sep 6, 2022, 5:09 AM
           Sub'ect: a es and treatment




           Dear Both

           Following yesterdays conversation and in view that it is likely that we will have to remove "ages" from
           the document, I include the section of the SOC8 that talks about ages in the adolescent chapter.
                  would like to have this ready as much as possible and as soon as possible so we can make
           changes as soon as we can. I have highlighted in yellow the sections that we think they need to be
           remove, and add some words and a sentence. Can you please look at it and see if there is anything
           else that needs to be removed or added and send it to me? This comes at the end of the adolescent
           chapter. We are keen not to remove many references or make any major changes if at all possible.

           Regards




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           and may contain confidential information. If you have received this
           message in error, please contact the sender and delete the email and
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           Re: SOC delay- URGENT taskforce
           From:
           To:      Eli Coleman
           Cc:

           Date:    Fri, 09 Sep 2022 16:36:49 -0400

                is indeed, Eli.
           Ok, I'm saying nothing toMuntil we have resolution and we have our messaging clear.
           Later we can let her know you're interested in the deck she made.




           On Fri, Sep 9, 2022 at 4:12 PM Eli Coleman                        wrote:
                  is the powerpoint queen!
            I'd love to see those.
            I would not alert her - as it is unnecessary now.

             All of this will mean some minor modification of her slides or anyone else's that we can
             communicate with when resolved.

             Let's keep this highly confidential till resolution.

             Thanks!

             On Fri, Sep 9, 2022 at 3:06 PM                                                wrote:
              Hey          Eli,
                                problem-M has made fantastic slides of ALL the SOC8 statements to scroll
              Heads up on a problem—=
              during breaks in the GEI courses.
              Shall I tell her about this issue now? (Or a limited version of this situation?) Or wait till we have
              a resolution?
              Seems likely she will have to make some changes to the relevant Adolescent slides.




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              On Fri, Sep 9, 2022 at 3:55 PM                                                    wrote:




                Well hello friends. I'm writing this email confidentially and urgently. I've also now touched
                base with each of you (or have attempted to do so) to discuss a matter of great importance
                related to the SOC8 release. This is time-sensitive.



                In a nutshell, you likely saw the email that the SOC8 was going to be released by the
                biennial meeting (next week) in Montreal, particularly since we have GEI sessions and other
                sessions designed to train attendees on its release. Then you saw another email regarding
                an inadvertent delay in the release. I'm writing about the reason why and this is top-level
                confidential, as you will see.



                The American Academy of Pediatrics (AAP)- a MAJOR organization in the United States
                that is typically very pro-transhealth/gender affirming care- voiced its opposition to the
                SOC8, specifically due to aspects of the Adolescent chapter. Not only did they say they
                would not endorse the SOC, they indicated that they would actively publicly oppose it. They
                had several concerns, one of which was the age criteria for minors (they believe that
                surgery of any type should not happen until the patient is age of majority). They also
                disagree with verbiage on social factors and adolescent identity development. They were
                tasked with providing feedback, which they did. We actually know some of the pediatricians
                who provided this feedback, which makes it rather shocking.



                Clearly, if AAP were to publicly oppose the SOC8, it would be a major challenge for
                WPATH, SOC8, and trans youth access to care in the U.S.



                You have been identified by me as someone to be a part of an urgent taskforce to figure out
                next steps. WPATH leadership has already proposed certain changes (removing of ages
                verbiage), however, we need to do the following: 1) Review the AAP feedback; 2) Review
                suggestions from SOC8 co-chairs; 3) Meet tomorrow (Saturday) at some point between
                12-3 PM EST to discuss our thoughts on the subject and come up with a united approach;
                and 4) Meet with AAP colleagues at some point shortly thereafter (potentially Sunday
                depending on availability) to make sure we can come to an agreement to obtain their
                endorsement.



                Can you all please reply with your ability to meet tomorrow and participate in this very
                important collaborative effort? I realize this might evoke some emotion and we'll have time
                to navigate that when in person over beverages in Montreal- so let's try to compartmentalize
                that for now and get our hard work efforts across the finish line. This is too important




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                Many thanks,




                    Eli Coleman, PhD.
                    Academic Chair in Sexual Health
                    Professor and Director
                    The
                    —he Institute for Sexual and Gender Health
                    University of Minnesota Medical School
                    Family Medicine and Community Health
                    sexualhealth.urnn.edu
                    sexualhealth.umn.edu




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           Re: last version with changes
           From:
           To:             "Hudson, Jeff' <                 >
           Cc:

           Date:           Sat, 10 Sep 2022 13:10:08 -0400
           Attachments:    06.09.22 SOC8 Final edit as agreed with adolescent chapter.pdf (12.5 MB)

           Dear jeff,
           Thank you very much for todays meeting and the support through this process.
           We have just finished our meeting and we have agreed to remove the ages and to add the
           sentence we agreed. I hope that by doing this AAP will be able to endorse the SOC8 or at
           least to support it.
           I am including the version that has been agreed with the adolescent chapter team and the
           chairs.
                    ards




           From: Hudson, Jeff <                  >
           Date: Saturda 10 Se stember 2022 at 16:35
           To
           Cc
           Subject: RE: meeting

           Friends,

           I can hop back on zoom now-will do right now.

           From:
           Sent: Fnda , Se tember 9, 2022 7:38 PM
           To
           Cc: Hudson, Jeff <                 >
           Subject: Re: meeting




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           I will set up zoom later

           On Fri, Sep 9, 2022 at 7:12 PM                                      ,. wrote:
             I'm upstate. Please email with details of zoom. Phone reception isn't great up here.

             Sent from my iPad




               On 9 Sep 2022, at 19:49,                                      rote:


               I can't seem to get a hold of       I have to go to dinner.

               Why don't we try to have a phone conversation tomorrow.
               9 central?




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